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              BEFORE THE UNITED STATES JUDICIAL PANEL ON
                        MULTIDISTRICT LITIGATION
______________________________________________________________________________

In re: Auto Body Shop Antitrust Litigation                  MDL No. 2557
______________________________________________________________________________

                MOTION TO VACATE CONDITIONAL REMAND ORDER

       Pursuant to Rules of Procedure of the Judicial Panel on Multidistrict Litigation 6.1 and

10.2(e), the undersigned Movants move to vacate the Conditional Remand Order (“CRO”) entered

by the Judicial Panel on Multidistrict Litigation (“JPML”) on August 19, 2020 (Doc. 486), with

respect to all cases identified in it (listed in the attached Schedule of Actions). The suggested basis

for remand does not further the interests for which this multidistrict litigation (“MDL”) was

established. Remand of these cases now, while they are still in the pleading stage, will not expedite

resolution of the MDL, but rather will delay resolution of the cases and increase the burdens on

the judiciary and the parties.

                                         BACKGROUND

       On August 8, 2014, the JPML established the Auto Body Antitrust Litigation MDL and

assigned it to Judge Presnell in the U.S. District Court for the Middle District of Florida (the

“Transferee Court”). In re Auto Body Shop Antitrust Litig., 37 F. Supp. 3d 1388 (J.P.M.L. 2014).

Each Plaintiff asserted various federal and state law claims arising from allegations about

reimbursement practices for automobile collision repairs by nearly the entire automobile insurance

industry. Id. at 1389. The initial transfer order consolidated five cases, but soon the MDL included

27 cases, including the five cases subject to the CRO, filed by hundreds of plaintiffs. See Am.

Suggestion of Remand, Doc. 485 (discussing the MDL’s history).

       Over the last six years, the Transferee Court has analyzed dozens of complaints in the

similar actions in this MDL, including first and second amended complaints, and issued numerous
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substantive rulings on motions to dismiss, objections to reports and recommendations, and motions

for reconsideration, all relating to the sufficiency of Plaintiffs’ overlapping allegations. The

Transferee Court has also actively managed this MDL docket from the start, holding numerous

status conferences, and several in-person hearings on various motions.

       The Plaintiffs in the five cases presented here initially alleged two claims for violations of

the Sherman Act, for price-fixing and group boycotting, and state law claims for unjust enrichment,

quantum meruit, and tortious interference. Quality Auto Painting Ctr. of Roselle, Inc. v. State

Farm Indem. Co., 917 F.3d 1249, 1259 (11th Cir. 2019). The Defendants moved to dismiss all the

claims, which motions the Plaintiffs opposed in a consolidated brief. Id. at 1259. The Transferee

Court granted the motions and dismissed the claims. Id. at 1260. The Plaintiffs in the five cases

appealed that dismissal and, in an en banc opinion addressing all of the five cases, the Eleventh

Circuit Court of Appeals affirmed the dismissal of all claims, except the tortious interference

claims. Id. at 1276. The Eleventh Circuit overturned the dismissal of the tortious interference

claims, ruling that the District Court had improperly held that the claims were group pled, and

remanded to the Transferee Court for further proceedings, including further consideration of

motions to dismiss. Id. at 1276 n.32 (“We decline to address other possible theories on the basis

of which that judgment might have been affirmed (whether on the basis of the merits or other

pleading deficiencies, including even other possible group pleading theories).”); Am. Suggestion

of Remand, Doc. 485 (“[T]he circuit court noted that its reversal of the tortious interference claims

related only to the district court’s group pleading rationale, leaving open the question whether the

Complaints were subject to a 12(b)(6) dismissal for failure to state a viable claim”).

       The remaining tortious interference claims in each case all allege that the Defendants “—

by means of a campaign of misrepresentation of facts about poor quality, etc.—have repeatedly
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steered their insureds away from each named Plaintiff to punish that Plaintiff for complaints about

or refusal to submit to the price ceilings and other practices imposed by the named Defendants.”

Quality Auto Painting, 917 F.3d at 1275. These remaining claims arise out of the allegations

regarding reimbursement practices for automobile collision repairs that prompted this Panel to

consolidate these cases for pretrial proceedings in the first instance. See In re Auto Body Shop

Antitrust Litig., 37 F. Supp. 3d at 1389-91 (discussing the reasons for consolidation).

       Following remand from the Eleventh Circuit, the Transferee Court ordered the Defendants

to file a single consolidated supplemental brief as to the five cases pending before the Panel in

support of their Motions to Dismiss the Tortious Interference Claims on August 7, 2020. Order,

6:14-md-02557-GAP-EJK, Doc. 350 (addressing briefing on these five cases and three other

cases). The Defendants timely filed their consolidated brief, arguing that Plaintiffs had failed to

state a claim. Consolidated Br. in Supp. of Defs.’ Mots. to Dismiss Pls.’ Tortious Interference

Claims, 6:14-md-02557-GAP-EJK, Doc. 353. No defendant raised the issue of supplemental

jurisdiction. Id. The Plaintiffs’ filed a single consolidated response on September 4, 2020. Pls.’

Br. In Opp’n to Defs.’ Mots. To Dismiss Tortious Interference Claims, 6:14-md-02557-GAP-EJK,

Doc. 358. They too did not raise the issue of supplemental jurisdiction. Id.

       The Plaintiffs and the Defendants agree that the Transferee Court should exercise

supplemental jurisdiction.    6:14-md-02557-GAP-EJK, Doc. 348.           In a Consolidated Joint

Stipulation and Report filed on July 10, 2020, the parties stated:

               Counsel for all parties to the pending actions included in these MDL
               proceedings have conferred again concerning the Court’s exercise
               of supplemental jurisdiction over state law claims in all remaining
               cases. All counsel acknowledge that this Court and the 11th Circuit
               have already invested extensive judicial resources into the resolution
               of these claims. The Quality en banc opinion provided significant
               guidance on the state law claims still before this Court. The panel
               opinion in the consolidated Automotive Alignment case is
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                 additionally instructive. All counsel further agree that a single
                 federal forum provides overwhelming efficiencies for all parties and
                 is significantly more advantageous than starting all over again in
                 various state courts which will result in piecemeal and potentially
                 conflicting or inconsistent resolutions. With deference to the
                 Court’s discretion, undersigned counsel respectfully advise the
                 Court that, with the exception of [the plaintiffs in a case not at issue
                 here], all of the parties prefer that this Court retain jurisdiction and
                 adjudicate all state law claims.

Id.

          On August 17, 2020, the Court filed an Amended Suggestion of Remand. Doc. 485. The

Suggestion noted that, in these cases, “no discovery has commenced and the parties are still in the

process of briefing the tortious interference claims.” Id. The Suggestion also stated that “[i]f left

to my discretion, [the Transferee Court] would decline to exercise pendent jurisdiction over [the

remaining] claims.” Id. However, because in the Transferee Court’s view, “this is a decision best

left to the respective transferor courts,” the Transferee Court suggested the panel remand the cases.

                                             ARGUMENT

          Cases with common questions of fact may be consolidated in an MDL for the “convenience

of parties and witnesses” and the promotion of the “just and efficient conduct of such actions.” 28

U.S.C. § 1407. When the five cases were transferred to the Middle District of Florida, authority

to decide all pretrial matters, including discretionary exercises of jurisdiction, was transferred to

that Transferee Court for the convenience of the witnesses and for the just and efficient conduct of

the cases. 28 U.S.C. § 1407(b). Remanding these five cases so that four or five transferor courts,1

instead of the Transferee Court, may decide whether to exercise supplemental jurisdiction over the

remaining state law claims will serve neither goal of 28 U.S.C. § 1407. Remand now will create

duplicative work for the parties and the transferor courts. First, the parties must separate the



1
    Two of the cases are from the District of New Jersey and would likely be in front of one judge.
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overlapping and separate state law issues that were just filed together in their consolidated motion

to dismiss briefing, and prepare new motions for each of the transferor courts. Second, the

transferor courts must familiarize themselves with the history of these cases, even to first decide

whether to exercise supplemental jurisdiction. Then, the transferor courts must familiarize

themselves with the issues that remain on the motions to dismiss after six years of motion practice,

appeals, remand, and rebriefing. Then, if the cases are not dismissed, they will each proceed

separately in each of the transferor courts. The courts and the parties will not realize the

convenience and efficiencies contemplated when the JPML consolidated the cases for pretrial

proceedings because the cases will proceed separately through such proceedings. Walsh v. Nortel

Networks Corp., No. 05 CIV. 2344 (LAP), 2007 WL 1946546, at *3 (S.D.N.Y. June 28, 2007)

(“[R]emand was not warranted where it ‘would require another court to make its own way up [the]

learning curve, resulting in just that duplication of efforts that the multidistrict system is designed

to avoid.’”) (quoting Kinley Corp v. Integrated Res. Equity Corp., MDL No. 897, 1995 WL

234975, at *4 (S.D.N.Y. Apr. 21, 1995)).

   A. The Transferee Court Is Authorized To Resolve Pretrial Matters – Including
      Discretionary Jurisdictional Issues

       The transferee court in an MDL is authorized to address all pretrial matters. 28 U.S.C. §

1407(b) (“The judge or judges to whom such actions are assigned . . . may exercise the powers of

a district judge in any district for the purpose of conducting pretrial depositions in such coordinated

or consolidated pretrial proceedings.); see also In re: Helicopter Crash Near Wendle Creek, British

Columbia, on August 8, 2002, 542 F. Supp. 2d 1362, 1363 (J.P.M.L. 2008) (“‘Following a transfer,

the transferee judge has all the jurisdiction and powers over pretrial proceedings in the actions

transferred to him that the transferor judge would have had in the absence of transfer.’”) (quoting

In re “Agent Orange” Prod. Liab. Litigation, 818 F.2d 145, 163 (2d Cir. 1987)). This statutory
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language indicates that Congress intended a transferee court to resolve all pretrial motions before

sending the matter back to the transferor court. In re Donald J. Trump Casino Sec. Litig.—Taj

Mahal Litig., 7 F.3d 357, 367–68 (3d Cir. 1993), cert denied, 510 U.S. 1178 (1994) (discussing

the power of transferee courts to terminate cases).

       The JPML has recognized the authority of transferee courts to decide jurisdictional

questions. In re Darvocet, Darvon and Propoxyphene Prods. Liab. Litig., 939 F. Supp. 2d 1376

(J.P.M.L. 2013) (“We have often held that jurisdiction issues . . . such as absence of a federal

question, do not present an impediment to transfer, as plaintiffs can present such arguments to the

transferee judge.”). This authority to decide jurisdictional questions includes the authority to

decide whether to exercise supplemental subject matter jurisdiction. See, e.g., Grispino v. New

England Mut. Life Ins. Co., 358 F.3d 16, 19 (1st Cir. 2004) (transferee court has discretion to

decide whether to exercise supplemental jurisdiction after federal claims dismissed); In re

Ameriquest Mortg. Co. Mortg. Lending Practices Litig., No. MDL 1715, 2013 WL 4718958, at *5

(N.D. Ill. Sept. 3, 2013) (transferee court exercising discretion to retain supplemental jurisdiction

over state law claims after federal claims dismissed); In re New Motor Vehicles Canadian Exp.

Antitrust Litig., 335 F. Supp. 2d 126, 132 (D. Me. 2004) (transferee court exercising supplemental

jurisdiction over state law claims in an MDL).

       The Amended Suggestion of Remand recognizes the Transferee Court’s authority to decide

whether to exercise supplemental jurisdiction, but declines to make that decision. See Doc. 485 at

2 (“[T]his is a decision [(whether to exercise pendent jurisdiction over the claims)] is a decision

best left to the respective transferor courts.”). But the decision of whether to exercise pendant

jurisdiction is the very sort of pretrial motion Section 1407 envisions a transferee court will

address. See, e.g., In re CBS Color Tube Patent Litig., 342 F. Supp. 1403, 1405 (J.P.M.L. 1972);
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(denying motion to remand even though only two cases remained in the MDL, where a motion to

sever and transfer was pending because the JPML refrained from “interfering in matters within the

discretion of the transferee judge”).

  B. Remanding the Cases Now Would Sacrifice Efficiency and Convenience to Resolve a
     Discretionary Decision

       While there is no limit to a transferee court’s discretion to suggest remand to the JPML,

the latest that an action must be remanded to the transferor court is when “‘pretrial proceedings

have run their course.’” In re Asbestos Litig., 7 F. Supp. 2d 93, 94 (citing Lexecon Inc. v. Milberg

Weiss, 523 U.S. 26, 118 S.Ct. 956, 962, 140 L.Ed.2d 62 (1998)); see also Manual For Complex

Litigation (Fourth) § 22.36 (2004) (indicating completion of pretrial matters is the trigger for

remand); id. § 22.37 (same). An action is remanded “prior to the completion of coordinated or

consolidated pretrial proceedings only upon a showing of good cause.” In re S. Cent. States Bakery

Prod. Antitrust Litig, 462 F. Supp. 388 (J.P.M.L. 1978).

       While the Panel gives great weight to the judgment of the transferee court in deciding

whether to remand a case, the Panel may decide that remand is not appropriate based on the need

for judicial efficiency and where limited pretrial proceedings have been conducted in the transferee

court. In re Great S. Life Ins. Co. Sales Practices Litig., 217 F. Supp. 2d 1379, 1379-80 (J.P.M.L.

2002). Remand is appropriate, however, when there is “no efficiency gain to be had by keeping

the case before the transferee court.” U.S. ex rel. Hockett v. Columbia/HCA Healthcare Corp.,

498 F. Supp. 2d 25, 38 (D.D.C. 2007) (citing a In re Baseball Bat Antitrust Litig., 112 F. Supp. 2d

1175, 1177 (J.P.M.L. 2000), in which the transferee court had terminated nearly all cases save for

one case being transferred following the end of pre-trial proceedings). Remand is inappropriate,

for example, when continued consolidation will “eliminate duplicative discovery, prevent

inconsistent pretrial rulings, and conserve the resources of the parties, their counsel and the
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judiciary.” In re Silica Prod. Liab. Litig., 398 F. Supp. 2d 563, 668 (S.D. Tex. 2005) (citing In re

Heritage Bonds Litig., 217 F. Supp. 2d 1369, 1370 (J.P.M.L. 2002).

       Remand is not appropriate here because the pretrial proceedings that warranted

consolidation in the first instance have not been completed. The parties just filed consolidated

briefing on motions to dismiss as to these five cases. The motions address issues with which the

Transferee Court is already familiar, and are remarkably similar from case-to-case. The transferor

courts, in contrast, have not presided over these matters for the last five years. See, e.g., In re

Helicopter Crash, 542 F. Supp. 2d at 1363 (“transferee judge has developed a familiarity with the

allegations, issues, parties and counsel involved in this docket, which will further the expeditious

resolution of the litigation taken as a whole.”); In re Bridgestone/Firestone Inc. Tires Prods. Liab.

Litig., 2006 U.S. Dist. LEXIS 87752, *3-4 (S.D. Ind. Nov. 14, 2006) (vacating court’s own

suggestion of remand and granting motion to dismiss where, upon “further review of the extensive

history of [the] litigation,” “resolution by this [transferee] court of the pending issues is preferable

to the referral to another court”). If the cases are transferred, the consolidated briefing the

Transferee Court ordered will likely be a nullity because it discusses the law of multiple states

related to multiple cases. Time and resources will be expended to prepare new briefing.

       The Transferee Court’s knowledge and familiarity with parties’ contentions is one reason

transferee courts keep the cases until all pretrial proceedings have been terminated:

               While the cases must be remanded or transferred upon termination
               of the pretrial proceedings, the transferee court does have
               jurisdiction over all pretrial motions and proceedings. This includes
               both discovery disputes and dispositive motions. Thus, the
               transferee court may grant partial or complete summary judgment,
               judgment of dismissal, or judgment upon a stipulation. This power
               enables the transferee judge, who is the most familiar with the
               contentions of the parties and the underlying evidence which has
               been discovered, to narrow the scope of the issues by eliminating
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                illusory issues before the cases are sent back to their home
                jurisdictions for trial.

Statutory structure—Effect of Transfer, Guide to Multistate Litigation § 2:9 (Nov. 2019 Update)

(footnotes and citations omitted).     The issues pending before the Transferee Court on the

consolidated motion have been litigated before, under these and different state laws, and addressed

by this Court in the context of these cases, and the other cases consolidated for pretrial proceedings,

over the last six years. See In re Baycol Prod. Litig., No. 03-0037MJDSRN, 2008 WL 6259241,

at *13 (D. Minn. Sept. 9, 2008) (“The accrual of judicial expertise is central to the multi-district

litigation process.”).

        The suggested reason for remand – so the transferor court may decide whether to exercise

pendent jurisdiction – is the type of pretrial motion Section 1407 envisions the transferee court

will address, and does not provide the good cause to remand these five cases. In re Gypsum

Wallboard, 340 F. Supp. 990, 991–92 (J.P.M.L. 1972) (denying motion to remand where a

summary judgment motion was pending before the transferee court because the transferee court’s

“familiarity with this litigation affords the parties the opportunity of an expeditious resolution of

[the] motion”). Nothing in Section 1407 suggests jurisdictional matters should not be addressed

by transferee courts – or that transferee courts cannot address jurisdictional matters as well as

transferor courts.

        The Amended Suggestion seems to envision that the transferor courts will decline to

exercise pendent jurisdiction in each of these five cases. But each transferor court may decide the

opposite, and exercise supplemental subject matter jurisdiction. If that happens, the cases will

proceed individually, in separate courts, without the efficiency and convenience of the MDL. And

if the transferor courts deny the pending 12(b)(6) motions, discovery and other pretrial proceedings

will proceed separately. As the Amended Suggestion notes, no discovery has commenced in these
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five cases. Even if the motions to dismiss are granted, appeals would proceed in four circuits,

instead of one, as they proceeded (in a consolidated proceeding) following the first dismissal.

       The Amended Suggestion of Remand does not indicate that the purpose of the MDL –

consolidated pre-trial proceedings – has been completed, and they have not been. It is true that

the Panel accords “great weight” to a transferee court’s suggestion of remand, because such a

suggestion indicates “he perceives his role under Section 1407 to have ended.” In re Multidistrict

Civil Actions Involving Air Crash Disaster Near Dayton, Ohio, on Mar. 9, 1967, 386 F. Supp. 908,

909 (J.P.M.L. 1975). Movants respectfully disagree with the transferee court’s suggestion of

remand here, and contend that retaining these cases in the MDL would promote the just and

efficient conduct of this litigation, and remand now would be premature.

                                          CONCLUSION

       For the reasons described above, Movants request that this Panel vacate the CRO and

decline to remand the five cases to their transferor courts.

       Dated this 10th day of September, 2020.
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